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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
                      NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



 This case has been assigned to:
                  District Judge Dolly M. Gee
                  Magistrate Judge Michael R. Wilner


 The case number on all documents filed with the Court should read as follows:
                                   2:21−mc−43 DMG (MRWx)
 District judges in the Central District of California refer all discovery-related motions to the
 assigned magistrate judge pursuant to General Order No. 05-07. Discovery-related motions
 should be noticed for hearing before the assigned magistrate judge. Please refer to the assigned
 judges' Procedures and Schedules, available on the Court's website at www.cacd.uscourts.
 gov/judges-requirements, for additional information.




                                                              Clerk, U.S. District Court

  January 29, 2021                                            By /s/ Geneva Hunt
     Date                                                        Deputy Clerk




                                            ATTENTION
  The party that filed the case-initiating document in this case (for example, the complaint or the
  notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
   document. In addition, if the case-initiating document in this case was electronically filed, the
     party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
   copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
   copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                       case-initiating document.



 CV-18 (08/19)               NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
